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                              UNITED STATES DISTRICT COURT

                                DISTRICT OF NEW JERSEY



UNITED STATES OF AMERICA                  :     HON. KATHARINE S. HAYDEN
                                          :
                                          :     CRIMINAL NO. 03-844-018 (KSH)
                v.                        :
                                          :
                                          :     ORDER
                                          :
ROBERT SINGLETON,                         :
              Defendant                   :

          THIS MATTER having come before the Court upon allegations that the

defendant ROBERT SINGLETON, violated certain conditions of his supervised release

imposed on or about May 21, 2007, by this Court; and the defendant having appeared

before this Court on May 24, 2010 and June 22, 2010, to answer the allegations in the

Petition for Warrant or Summons for Offender Under Supervision filed by the United

States Probation Office signed on May 17, 2010 (hereinafter the APetition@); and the

Court having adjourned a hearing on the merits of the Petition until November 16, 2010;

and the Court having heard on that date from the government ( Samuel A. Stern,

Assistant U.S. Attorney, appearing), United States Probation Office (Thomas Stone,

United States Probation Officer, and the defendant (K. Anthony Thomas, Assistant

Federal Public Defender, appearing); and for good cause shown;
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          IT IS, on this 23 day of November, 2010;

          ORDERED that the above referenced Petition is hereby dismissed; and it is

further



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       ORDERED that defendant ROBERT SINGLETON previous term of Supervised

Release is continued; and it is further

       ORDERED that all other terms of Supervised Release shall remain in force.




                                          /s/ Katharine S. Hayden
                                          KATHARINE S. HAYDEN, U.S.D.J




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